  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 1 of 21 PageID #:7914




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
             v.                          )     No. 08 CR 888-1
                                         )     Judge James B. Zagel
                                         )
ROD BLAGOJEVICH                          )

               GOVERNMENT’S SENTENCING MEMORANDUM

      The United States of America, by and through PATRICK J. FITZGERALD,

United States Attorney for the Northern District of Illinois, respectfully submits the

following Government’s Sentencing Memorandum, stating as follows:

                                  INTRODUCTION

      The goal of sentencing is to achieve a sentence that is “sufficient but not greater

than necessary.” 18 U.S.C. § 3553(a). In doing so, the Court must account for a variety

of factors specific to the particular defendant and particular case. The framework for

determining an appropriate sentence is set forth in § 3553(a). In particular, § 3553(a)

requires that the court ensure the sentence imposed properly considers, among other

factors: (1) the nature and circumstance of the offense; (2) the history and

characteristics of the defendant; (3) the need to reflect the seriousness of the offense,

to promote respect for the law, and provide just punishment for the offense; (4) the

need to afford adequate deterrence; (5) the need to protect the public from further

crimes of the defendant; (6) the properly calculated Sentencing Guideline range along

with pertinent policy statements provided by the Sentencing Commission; and (7) the

need to avoid unwarranted sentencing disparities.
     Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 2 of 21 PageID #:7915




         Over the course of a relatively brief period of time, during his machinations

surrounding the appointment of a United States Senator, and the shakedowns of

hospital and racetrack executives, the defendant revealed his corrupt, criminal

character. But, as the evidence and Blagojevich’s conduct at his trials established,

these were not isolated incidents. They were part and parcel of an approach to public

office that defendant adopted from the moment he became governor in 2002. In light

of Blagojevich’s extensive corruption of high office, the damage he caused to the

integrity of Illinois government, and the need to deter others from similar acts, the

government suggests a sentence of 15 to 20 years imprisonment is sufficient but not

greater than necessary to comply with § 3553.

               SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

I.       The Nature and Circumstances of Blagojevich’s Crimes (18 U.S.C §
         3553(a)(1))

         Blagojevich’s criminal activity was serious, extended, and extremely damaging.

Blagojevich was the sitting governor of Illinois when he committed his crimes. As the

chief executive of the state, Blagojevich was in a special position of responsibility to the

public. His abuse of office is particularly grave given the faith put in him by the

citizens of Illinois.

         As the Court has heard much of the evidence during two trials, the government

will not reiterate the details of Blagojevich’s criminal conduct.1 Blagojevich repeatedly


        1
       A more thorough review of the nature and circumstances of Blagojevich’s
criminal activity is detailed in the Government Version provided to the Probation
                                                                         (continued...)

                                             2
  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 3 of 21 PageID #:7916




attempted to trade official acts as governor for personal benefits. These criminal

efforts included Blagojevich’s attempts to trade an appointment to the U.S. Senate in

exchange for, among other things, $1.5 million in campaign contributions or a high-

paying job. Blagojevich shook down the CEO of a children’s hospital for $25,000 in

campaign contributions in exchange for implementing an increase to pediatric

reimbursement rates. In addition, Blagojevich, the sitting governor, held up the

signing of a bill to benefit the Illinois horse industry in an attempt to obtain $100,000

in campaign contributions.

       Further, well knowing the government was investigating his activity,

Blagojevich purposefully lied to the FBI during an interview to conceal his criminal

activity.   In doing so, Blagojevich chose to obstruct the government’s ongoing

investigation into his criminal activity and the criminal activity of others affiliated

with his administration.

       In addition to the crimes proven beyond a reasonable doubt, the Court has heard

considerable evidence regarding Blagojevich’s other criminal endeavors, including:

(a) holding up grant funding for a not-for-profit school in order to obtain campaign

contributions; (b) attempting to obtain campaign contributions in exchange for

providing billions of dollars in money in Tollway projects; and (c) demanding the firing




(...continued)
Department and attached to the PSR.

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 4 of 21 PageID #:7917




of Chicago Tribune editorial board members in exchange for assistance to the Tribune

Company for financing in relation to the sale of Wrigley Field.2

      Blagojevich agreed to use his official powers for personal benefit from the very

moment he became governor. On the heels of one corrupt governor and after running

on a campaign to end “pay-to-play,” Blagojevich took office and immediately began

plotting with others to use the Office of Governor for his personal gain through fraud,

bribery, and extortion. Blagojevich and others committed a variety of criminal acts for

several years before Blagojevich became aware of the FBI investigation into his actions

and the actions of his administration. As the evidence demonstrated, Blagojevich

continued his criminal acts through 2008 despite his knowledge of the FBI’s

investigation. Indeed, the arrest and conviction of various members of Blagojevich’s

inner circle did nothing to dissuade Blagojevich from continuing his criminal activity

until the day of his arrest.3



      2
        Although the jury did not convict the defendant of every episode of criminal
conduct, all of Blagojevich’s criminal conduct is relevant under the § 3553(a)
sentencing factors.
      3
         The defendant’s version submitted to the Probation Department goes on at
length in an attempt to relitigate the facts of this case, at times even presenting
versions of facts that are at odds with Blagojevich’s trial testimony. In providing a
spin on events thoroughly rejected by the jury, Blagojevich does nothing to shed
light on the circumstances of his criminal activity other than demonstrate his
refusal to accept responsibility for his crimes. Unless the Court directs otherwise,
the government will not rebut all of the misleading facts set forth in the defendant’s
version, but refers the Court to the evidence presented at trial, the government’s
version submitted to the Probation Department, and the jury’s verdict, to
demonstrate that Blagojevich continues to offer rejected arguments and misleading
facts contradicted by the evidence.

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 5 of 21 PageID #:7918




      In short, the nature and circumstances of Blagojevich’s criminal activity are a

significant aggravating factor in determining an appropriate sentence. Recent cases

involving public corruption have led to substantial sentences for defendants who, as

public officials, engaged in corrupt activity. See Documents Attached as Gov. Ex. A

(18-year federal sentence for a U.S. immigration lawyer convicted of taking bribes

(March 2011); 18-year federal sentence for a mayor convicted of bribery and extortion

and who testified falsely at his trial (February 2010); 28-year federal sentence for a

judge convicted of taking bribes to send juveniles to certain detention centers (August

2011); 17-year sentence for a city councilman convicted of extortion and wire fraud

(August 2010); 15-year sentence for a mayor convicted of bribery scheme (March

2010)).4

II.   Blagojevich’s History and Characteristics (18 U.S.C. § 3553(a)(1))

      Blagojevich’s personal history presents both aggravating and mitigating facts.

As a successful public official, Blagojevich was uniquely positioned to appreciate the

gravity of his crime. Blagojevich knew about the power and trust granted to elected



      4
         In this district, corruption sentences in well-publicized cases have covered a
broad range, in part because the sentences were based on Guideline ranges derived
from pre-2004 Guideline Manuals, the use of different Guideline sections, and other
various factors. See United States v. Spano, 421 F.3d 599 (7th Cir. 2005) (noting
sentences for individuals involved in corruption in Cicero, Illinois, as ranging from
41 to 151 months, although such sentences were calculated using § 2F1.1 prior to
the 2004 Amendments to the Guidelines and were for conduct that ended in
approximately 1998), sentences affirmed after new sentencing hearing, 476 F.3d 476
(7th Cir. 2007); see also United States v. George Ryan, 02 CR 506 (former Illinois
governor sentenced to six and a half years in prison using § 2B1.1 for conduct that
occurred prior to 2003).

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 6 of 21 PageID #:7919




officials, and knew, from over a decade of experience in Chicago and Illinois, that

corruption benefits the few at the expense of the many. In fact, Blagojevich ran for

governor in 2002 on a platform to end “pay to play.” Blagojevich knew about the

crimes of George Ryan, was acutely aware of the damage caused to the public’s

confidence in government by Ryan’s betrayal of Illinois, and made restoring integrity

in government one of the cornerstones of his gubernatorial campaign.              Indeed,

Blagojevich continued to trade on Ryan’s betrayal to Illinois even after election, stating

after Ryan’s 2006 guilty verdict “that no one is above the law . . . [a]nd just as

important [the guilty verdict] proves that government is supposed to exist for the good

of the people, not the other way around, and certainly not for the personal enrichment

of those who hold public office.” Chicago Tribune, April 18, 2006 (Gov. Ex. Statement

1). Yet, as the evidence shows, while Blagojevich pledged to restore integrity to the

governor’s office, he was actively scheming to engage in criminal activity and continued

to do so through his arrest, further undermining the public’s confidence in government

and elected leaders.

      Moreover, unlike many offenders who appear before the Court, Blagojevich had

the benefit of a stable family and higher education. Blagojevich was not forced into a

criminal life due to the circumstances of his upbringing or environment. Nor was

Blagojevich an unwitting participant in this scheme, or caught up in circumstances

beyond his control. Blagojevich is a college-educated individual with a law degree and

a former prosecutor. In addition, Blagojevich was a sophisticated political operative

and elected official with years of experience in matters of governance. Blagojevich’s

                                            6
  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 7 of 21 PageID #:7920




choice to lead a criminal scheme provides a telling insight into Blagojevich’s character.

Blagojevich used his skills and talents to engage in extortion, bribery, and fraud, all

for his personal gain.

      There is, of course, more to Blagojevich’s history and characteristics. The

defendant appears to be committed to his wife and daughters. There is no doubt that

whatever sentence he receives will have consequences for his family. However, the sad

fact is that this is true for many defendants and is the unfortunate result of the choices

Blagojevich made.

      In his role as governor, Blagojevich, at times, attended to his official duties in

a way that was not corrupt. Of course, Blagojevich’s efforts as governor were the

requirements of his job.5 His job gave him the opportunity to improve people’s lives.6


      5
         While there was testimony and other evidence that showed Blagojevich was
largely disengaged from his official duties and worked from home, we do not view
that fact as relevant to sentencing. The remedy for a disengaged governor is action
by the voters. Blagojevich was tried for crimes he committed and should be
sentenced accordingly. We simply note that to the extent Blagojevich seeks
leniency for doing his job, the energy he put into his efforts were not above and
beyond what one would expect.
      6
         On any given action Blagojevich took, there are some who praise that action
and others who condemn it. See e.g. Free Rides for Seniors Program (Compare
http://bgathinktank.wordpress.com/2010/11/24/free-rides-for-seniors-should-not-be-s
tate-lawmakers%E2%80%99-third-rail/; and
http://archive.chicagobreakingnews.com/2009/10/rta-repeal-budget-busting-free-ride
s-for-seniors.html; versus
http://www.chicagonow.com/blogs/godless-in-chicago/2009/10/keep-free-rides-for-sen
iors.html). Such a debate, however, could never be conclusive and would not
advance the issues relevant at sentencing, which should not be a litmus test of
policy decisions made by the Blagojevich administration. Given the controversy
surrounding many of those policy decisions, simply listing legislative
                                                                       (continued...)

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 8 of 21 PageID #:7921




But this does not set Blagojevich apart from the average criminal. Many criminals are

productive members of society, holding down jobs that they ably accomplish when they

are not otherwise engaged in criminal activity. Blagojevich did the same, but on a

more high-profile stage. Indeed, it would be strange if Blagojevich had not helped

people, given that he had significant authority over how the state spent billions of

dollars on all manner of social services and programs. Thus, to the extent Blagojevich

helped people while he was governor, that should be commended, but it should be

noted Blagojevich was doing the job for which he was elected and well-compensated.

See United States v. Serafini, 233 F.3d 758, 773 (3rd Cir. 2000) (“[I]f a public servant

performs civic and charitable work as part of his daily functions, these should not be

considered in his sentencing because we expect such work from our public servants.”);

see also United States v. Vrdolayk, 593 F.3d 676 (7th Cir. 2010) (noting that defendants

who commit good deeds because they are in a position to do so should not gain

advantage over those who do not because they cannot).

      Blagojevich campaigned on a platform of restoring integrity to elected office and

was elected to reform both the perception and reality that state government was fueled

by corrupt, pay-to-play, inside deals at the expense of the public trust and fisc. His




      6
         (...continued)
accomplishments, as Blagojevich does in his version of the offense (Def. Version at
48-50, including reference to the Free Rides for Seniors program), does nothing to
establish whether Blagojevich’s acts as governor were ultimately a net benefit or
net ill to the people of Illinois.

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 9 of 21 PageID #:7922




accomplishments as governor are far outweighed by the personal greed that infected

his acts and his administration.

III.   The Need to Reflect the Seriousness of the Offense, Promote Respect
       for the Law, and Provide Just Punishment for the Offense (18 U.S.C. §
       3553(a)(2)(A))

       Blagojevich’s extortion, bribery, and fraud was extremely serious by any

standard. Blagojevich held up money for children’s hospitals in order to extort

campaign contributions. Blagojevich attempted, repeatedly, to trade the position of

United States Senator for bribes. A very substantial sentence is necessary to reflect

the seriousness of Blagojevich’s offense, justly punish the offenses, and promote respect

for the law.

       In the defendant’s version, Blagojevich, in belittling the seriousness of his

offenses, incredibly states “Illinois suffered not at all from his conduct.” (Def. Ver. at

2, emphasis in original). Defendant’s perception of his crimes remains as skewed as

it was at trial. Blagojevich held up funding to every children’s hospital in the State of

Illinois. Blagojevich sat on legislation that would have aided the entire Illinois horse

racing industry. Blagojevich, instead of choosing a United States Senator for the

people of Illinois on the merits of the candidates, used criteria that revolved around

how each candidate could personally benefit him.

       Blagojevich completely ignores the fact that his criminal activity corrupted the

decision-making process of Illinois government. That Blagojevich attempted to undo

his criminal acts after his arrest (taking the hold off the hospital money and signing

the racetrack legislation) does not negate the harm or seriousness of Blagojevich’s

                                            9
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 10 of 21 PageID #:7923




criminal activity. Blagojevich’s statement also fails to account for the fact that his

criminal activity further eroded the public’s confidence in government and government

officials. See United States v. Ganim, 2006 WL 1210984, at *5 (D. Conn. May 5, 2006)

(“Government corruption breeds cynicism and mistrust of elected officials. It causes

the public to disengage from the democratic process because. . .the public begins to

think of politics as ‘only for the insiders.’ Thus corruption has the potential to shred

the delicate fabric of democracy by making the average citizen lose respect and trust

in elected officials and give up any hope of participating in government though

legitimate channels.”).7

      In addition, since his arrest, Blagojevich has done his best to undermine the

legitimacy of the proceedings against him in this case, further demonstrating that he

does not respect the rule of law. To that end, Blagojevich has engaged in a vast media

campaign of disinformation without concern for the truth. For instance, on April 21,

2010, in response to public statements Blagojevich made, falsely claiming that

prosecutors were barring him from presenting evidence, the Court spoke directly to

Blagojevich, and informed Blagojevich that the Court decides what evidence will be


      7
         In addition, despite Blagojevich’s arguments to the contrary, there was a
monetary harm to the victims of Blagojevich’s criminal activity. The Medicaid
reimbursement increase was held up for 30 days due to Blagojevich’s criminal
activity, costing CMH and every other hospital money. The signing of the racetrack
legislation was delayed for several weeks, costing the horse racing industry tens of
thousands of dollars each day — money they may never get back depending on the
outcome of certain gambling legislation currently at issue in Illinois. Finally, the
delay in naming a senator while Blagojevich sought personal benefits cost the
people of Illinois a vote in the United States Senate on important legislation,
including legislation directed to the financial crisis in 2008.

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  Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 11 of 21 PageID #:7924




admitted at trial. See 4/21/10 Tr. at 10 -11 (noting, among other things, that regarding

issues of admission of evidence, the “Court decides all these questions, not the

defendant, his lawyers, nor the prosecutor”).

       Despite the Court’s clear admonition that Blagojevich should stop making false

statements, he continued to do so.8 In the lead-up to the second trial, Blagojevich

continued to try to publicly delegitimize the legal proceedings against him. See April

19, 2011, WLS Radio Interview (“Play the tapes. . . .[The prosecutors are] the ones who

are blocking it.”).9

       Blagojevich was not able to thwart his jury trial through his false statements

to the public, but his efforts likely influenced the views of many of his supporters, and

certain members of the public generally, towards the government, the criminal justice

system, and the law.10

       Blagojevich has repeatedly belittled the seriousness of his offenses, attempted

to delegitimize the legal proceedings against him, and has not accepted any


       8
         See April 25, 2010, WLS Radio Interview (Blagojevich stated that the
prosecutor was limiting what tapes could be played at trial); August 20, 2010,
Today Show (same); August 23, 2010, The Daily Show (same).
       9
         This radio appearance occurred two days before jury selection in the second
trial and a day after the Court informed defense counsel that the Court was raising
a “red flag” regarding Blagojevich’s public statements being inconsistent with the
Court’s direct admonition to Blagojevich.
       10
         The government does not take issue with Blagojevich’s repeated public
statements proclaiming his innocence and does not seek to punish Blagojevich’s
exercise of his First Amendment rights. Blagojevich, however, went well beyond
publicly declaring his innocence and repeatedly made knowingly false statements
meant to undermine the legal process in his case.

                                           11
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 12 of 21 PageID #:7925




responsibility for his criminal conduct. Accordingly, the need for the sentence to reflect

the seriousness of Blagojevich’s offense, justly punish the offenses, and promote respect

for the law, warrant a substantial sentence in this case.

IV.   The Need to Afford Adequate Deterrence to Criminal Conduct (18
      U.S.C. § 3553(a)(2)(B))

      Sadly, Illinois has a history of corruption in government. The sentences imposed

on previous criminals for public corruption crimes were not sufficient to dissuade

Blagojevich from engaging in a myriad of criminal acts. Indeed, the governor prior to

Blagojevich was sentenced to approximately six and a half years in prison. The six and

a half year sentence did nothing to stop Blagojevich, as the very next governor, from

engaging in significant and ongoing bribery, extortion, and fraud.

      A significant sentence is necessary to deter current and future public officials

from engaging in Blagojevich-like criminal activity. As one court in this district noted:

      We need not resign ourselves to the fact that corruption exists in
      government. Unlike some criminal justice issues, the crime of public
      corruption can be deterred by significant penalties that hold all offenders
      properly accountable. The only way to protect the public from the ongoing
      problem of public corruption and to promote respect for the rule of law is
      to impose strict penalties on all defendants who engage in such conduct,
      many of whom have specialized legal training or experiences. Public
      corruption demoralizes and unfairly stigmatizes the dedicated work of
      honest public servants. It undermines the essential confidence in our
      democracy and must be deterred if our country and district is ever to
      achieve the point where the rule of law applies to all-not only to the
      average citizen, but to all elected and appointed officials.

United States v. Spano, 411 F.Supp.2d 923, 940 (N.D. Ill. 2006), affirmed, 477 F.3d 517

(7th Cir. 2006).



                                           12
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 13 of 21 PageID #:7926




       A very substantial sentence would also demonstrate to the public that corruption

will be seriously addressed and deterred when discovered. To the extent the public

suffers from corruption “fatigue” — that is, the refrain sometimes heard that “all

Illinois politicians are corrupt” — a lengthy sentence would help promote the view that

a day of reckoning exists for public officials who commit corrupt acts and that the

public can and should expect more from its elected officials. See Ganim, 2006 WL

1210984, at *5.

       As noted above, recently, courts have been imposing substantial sentences in

corruption cases to help deter future criminal conduct. See Documents Attached as

Gov. Ex. A.

       Accordingly, the need to properly deter current and future public officials

supports a sentence comparable to the substantial terms of imprisonment imposed in

other recent cases throughout the country.

V.     The Need to Protect the Public from Future Crimes by Blagojevich (18
       U.S.C. §3553(a)(2)(C))

       It is unlikely that Blagojevich will ever hold elected office again. In addition, it

is unlikely that Blagojevich will ever hold a position of trust in which he has significant

decision-making authority.      Since it is unlikely Blagojevich will be given the

opportunity to commit additional cirmes, there is little need to protect the public from

future crimes by Blagojevich.




                                            13
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 14 of 21 PageID #:7927




VI.    The Properly Calculated Sentencing Guideline Range and Pertinent
       Policy Statements Provided by the Sentencing Commission (18 U.S.C.
       § 3553(a)(4) & 3553(a)(5))

       In the instant case, the properly-calculated Sentencing Guidelines recommend

a sentencing range of 360 months to life.         See Government’s Objections to the

Presentence Report (filed simultaneously with the instant filing). The Guideline range

is significant in this case, in part, based on the $1,625,000 attributable to Blagojevich’s

crimes, which add 16 levels to the base offense level.11 Although the value of the

benefit to be obtained is one factor in determining harm, another aspect of harm is

consideration of the type of corrupt acts perpetrated by Blagojevich. Here, Blagojevich,

among other crimes, attempted to sell a U.S. Senate seat and held up funding to a

children’s hospital to extort campaign contributions. These are significant acts of

corruption that adequately capture the degree and magnitude of Blagojevich’s criminal

acts. Blagojevich’s criminal acts are very serious regardless of whether he tried the sell

the Senate seat for $1,000 or $1.5 million. Accordingly, while the Guideline range is

360 months to life, under § 3553(a) the Court should strive to find a sentence that

appropriately accounts for the degree of Blagojevich’s culpability based on a holistic

review of all the statutory factors. See United States v. Reyes-Herndandez, 624 F.3d

405, 421 (7th Cir. 2010).




      11
         For perspective and to further signify the importance the Guidelines place
on properly punishing public corruption crimes, even if the benefit to be obtained by
Blagojevich were only the $125,000 attributed by the Probation Department, his
Guideline range would be 188 months to 235 months.

                                            14
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 15 of 21 PageID #:7928




      In amending the corruption Guidelines in 2004 to increase punishment for

public officials who corrupt their office, the Sentencing Commission made several

statements that make clear that substantial sentences are appropriate for the types

of crimes Blagojevich committed. In particular, the Sentencing Commission attempted

to increase corruption sentences based on “the [Sentencing] Commission’s conclusion

that, in general, public corruption offenses previously did not receive punishment

commensurate with the gravity of such offenses.” See U.S. Sentencing Guidelines

Manual, Supplement to Appendix C, Amendment 666, pg. 82.               The Sentencing

Commission also determined higher base offense levels for public officials are

appropriate because “offenders who abuse their positions of public trust are inherently

more culpable than those who seek to corrupt them, and their offenses present a

somewhat greater threat to the integrity of governmental process.” Id.

      The government agrees with the Commission’s assessment of the gravity of

public corruption, and the weight given defendant’s status as a high-level

decisionmaker and organizer of criminal activity.       The guidelines also correctly

sanction Blagojevich’s obstruction of justice and refusal to accept responsibility. Some

weight should be given to the pecuniary magnitude of defendant’s corruption, but an

individualized assessment is paramount. In the government’s view, a sentence of 30

years would be greater than necessary in this case. As noted above, other public

corruption defendants have recently received sentences in the range of 15 to 20 years.




                                          15
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 16 of 21 PageID #:7929




VII.   The Need to Avoid Sentencing Disparities (18 U.S.C. § 3553(a)(6)) and
       Blagojevich’s Request for a Sentence of Probation

       The government has identified ranges of imprisonment imposed in other cases

involving corruption. See Gov. Ex. A. There are no easy comparisons, of course, but

§ 3553(a)(6) encourages the sentencing court to avoid unwarranted disparities among

defendants with similar records who have been found guilty of similar conduct. As the

Seventh Circuit has noted, “the kind of disparity with which § 3553(a)(6) is concerned

is an unjustified difference across judges (or districts) rather than among defendants

to a single case.” United States v. Boscarino, 437 F.3d 634, 636 (7th Cir. 2006). A

sentence in the range of 15 to 20 years’ imprisonment would be consistent with

sentences imposed in broadly similar cases.

       Blagojevich cites to a variety of individuals who he suggests have records similar

to his. Def. Version at 52-55.12 In this prosecution, as well as other cases cited by

Blagojevich, there are no other defendants who committed a similar scope and degree

of criminal conduct as Blagojevich. In addition, Blagojevich, unlike other defendants

in this case, has been found guilty of multiple criminal acts of extortion, bribery, and

fraud, covering multiple episodes, as well as lying to government agents in an effort

to obstruct an ongoing criminal investigation. Only Blagojevich, among the defendants



       12
          Blagojevich’s factual statements in this section are, at times, inaccurate.
For instance, former Congressman Dan Rostenkowski pled guilty to certain crimes.
He was not, as Blagojevich alleges, convicted after trial. Def. Version at 54. In
addition, comparing Congressman Rostenkowski, who was convicted of crimes
related to misuse of franking privileges, and Blagojevich, whose crimes were of a
much more serious and egregious nature, is inapt.

                                           16
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 17 of 21 PageID #:7930




in this case, abused the significant public trust that comes with the highest elected

office in Illinois. Further, Blagojevich was not dissuaded from engaging in continued

criminal conduct despite witnessing Rezko, Kelly, and Levine all be arrested and

convicted. And, no other defendant, in any case cited by Blagojevich, perjured himself

at trial. See United States v. Dunnigan, 507 U.S. 87, 97-98 (1993) (“The perjuring

defendant’s willingness to frustrate judicial proceedings to avoid criminal liability

suggests that the need for incapacitation and retribution is heightened as compared

with the defendant charged with the same crime who allows judicial proceedings to

progress without resorting to perjury.”).

      Further deprecating Blagojevich’s appreciation for his criminal conduct is his

request for a probationary sentence. See Statement of Aaron Goldstein on Chicago

Tonight, 9/28/11. By way of comparison, Antoin Rezko, who voluntarily surrendered

immediately after conviction to start serving what he knew would be a prison sentence,

recently received a sentence of 126 months’ imprisonment for corrupt activity that he

engaged in directly with Blagojevich or with Blagojevich’s tacit approval. Yet, Rezko:

(a) held no elected office of trust; (b) was not involved in any of Blagojevich’s 2008

criminal activity; (c) provided some cooperation to the government that proved

valuable; (d) endured harsh conditions of confinement; and (e) ultimately accepted full

responsibility for all of his criminal conduct. Blagojevich engaged in extensive criminal

conduct with and without Rezko, provided no cooperation, perjured himself for seven

days on the witness stand, and has accepted no responsibility for his criminal conduct.

A probationary sentence would be entirely inconsistent with promoting respect for the

                                            17
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 18 of 21 PageID #:7931




law, and the request in itself demonstrates Blagojevich’s continuing refusal to

recognize the seriousness of his criminal conduct.13

      Even in Blagojevich’s version submitted to the Probation Department,

Blagojevich continues to portray himself as the victim of those around him who,

apparently, were all taking advantage of Blagojevich in an effort to obtain personal

benefits for Blagojevich. See Def. Version at 21 (“Mr. Blagojevich was taking direction

from his advisors on the issue of how to approach the senate seat appointment”); Def.

Version at 43 (“Mr. Blagojevich was clearly not leading or organizing, but was being

taken advantage of by his own staff who were actually taking direction not from Mr.

Blagojevich, but from their lobbying clients”); PSR at 14, line 408 (In his interview

with the Probation Department after conviction, “[Blagojevich] stated he relied on his

advisors to determine his actions.”). Indeed, as Blagojevich’s version makes clear, he

will not even accept responsibility for lying to the FBI. Def. Version at 30-31. Rather,

Blagojevich has repeatedly belittled his false statements conviction as being unfair and

the product of FBI malfeasance. See 8/20/2010 WLS Radio Interview (Blagojevich:

“And they’ve got this flimsy false statement from five years ago where I voluntarily

cooperated with them and went in there in good faith to talk to them. They refused a

court reporter. And so they can say whatever they want.”). Blagojevich’s statements



      13
         In fact, Blagojevich refused to voluntarily remove himself from the roll of
attorneys admitted to practice law in Illinois, and the Illinois Attorney Registration
and Disciplinary Commission was forced to go to court to seek an order to suspend
Blagojevich’s law license. See In the Matter of Rod R. Blagojevich, 2011PR00103, file
August 25, 2011 (a copy of the filing available upon request).

                                          18
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 19 of 21 PageID #:7932




are not only misleading because, in fact, he was offered the opportunity to tape record

the entire interview and refused, but they also demonstrate a continued failure to

acknowledge his own criminal conduct.

      In short, Blagojevich’s request for probation fails to account for: (a) the extent

of his criminal activity and the harm it has done to both its specific victims and the

public in general; (b) his efforts at obstruction both during the investigation and by

perjuring himself at trial; (c) his complete lack of acceptance of responsibility for his

criminal activity; and (d) his efforts to delegitimize the legal proceedings through

repeated knowingly false public statements.

      All of the § 3553 factors, including § 3553(a)(6), counsel toward a substantial

sentence of imprisonment.

                                   CONCLUSION

      The goal of sentencing is to achieve a sentence that is “sufficient but not greater

than necessary.” In the instant case, the Sentencing Guidelines alone provide for an

extremely lengthy sentence. The goal of sentencing, however, is not simply to achieve

the greatest possible sentence, but a sentence that accounts for a variety of factors

specific to the particular defendant and particular case.

      Blagojevich repeatedly committed serious criminal acts that have done

enormous damage to public confidence in Illinois government. He has refused to accept

any responsibility for his criminal conduct and, rather, has repeatedly obstructed

justice and taken action to further erode respect for the law. While the government is

not unsympathetic to the plight that Blagojevich, like many criminals, has inflicted

                                           19
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 20 of 21 PageID #:7933




upon his family through his criminal acts, Blagojevich has nobody to blame but himself

for the criminal conduct in which he engaged.

        Because that criminal conduct was extreme, and based on the other § 3553(a)

factors addressed above, Blagojevich should be sentenced to 15 to 20 years in prison,

as such a sentence would be sufficient but not greater than necessary in the instant

case.



                                              Respectfully submitted,

                                              PATRICK J. FITZGERALD
                                              United States Attorney


                                       By:    s/Reid Schar
                                              REID J. SCHAR
                                              CHRISTOPHER S. NIEWOEHNER
                                              CARRIE E. HAMILTON
                                              Assistant United States Attorneys
                                              219 South Dearborn Street
                                              Chicago, Illinois 60604
                                              (312) 353-3500




                                         20
 Case: 1:08-cr-00888 Document #: 862 Filed: 11/30/11 Page 21 of 21 PageID #:7934




                           CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney hereby certifies that the
following documents:

               GOVERNMENT’S SENTENCING MEMORANDUM

were served on November 30, 2011, in accordance with FED . R. CRIM . P. 49, FED . R. CIV .
P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF) pursuant to the
district court’s system as to ECF filers.



                                         s/Reid Schar
                                         REID SCHAR
                                         Assistant United States Attorney
                                         219 S. Dearborn Street
                                         Chicago, IL 60604
                                         (312) 353-8897




                                           21
